Case 1:22-mj-O0060-AJ Document1 Filed 04/06/22 Page 1of1

AO 108 (Rev. 06/09) Application for a Warrant to Seize Property Subject to Forfeiture

UNITED STATES DISTRICT COURT

for the
District of New Hampshire
In the Matter of the Seizure of )
(Briefly describe the property to be seized) )
$9,555.80 USDT stored in or accessible at Binance ) Case No. 1:22-mj- 60-01-AJ
Cryptocurrency Exchange, associated with User ID )
282843618, in the name of Deepak Soni. )

APPLICATION FOR A WARRANT
TO SEIZE PROPERTY SUBJECT TO FORFEITURE

I, a federal law enforcement officer or attorney for the government, request a seizure warrant and state under
penalty of perjury that I have reason to believe that the following property in the District of

 

New Hampshire is subject to forfeiture to the United States of America under 18 US.C.§
981(a)(1)(C) (describe the property):
and 28 U.S.C. § 2461, for violations of 18 U.S.C. § 1343: $9,555.80 USDT stored in or accessible at Binance
Cryptocurrency Exchange, associated with User ID 282843618, in the name of Deepak Soni. The U.S. has made the
requisite showings under 21 U.S.C. § 853(f) that there is probable cause to believe that the property to be seized would

be subject to forfeiture, and that an order under 21 U.S.C. § 853(e) may not be sufficient to assure the availability of the
property for forfeiture.

The application is based on these facts:

See attached Affidavit of Special Agent George Jasek III, United States Secret Service.
Seizure authority is predicated upon 18 U.S.C. §§ 981(b), 982(b)(1) and 21 U.S.C. § 853(f).

&@ Continued on the attached sheet.

/s/ George Jasek III

 

Applicant’s signature

George Jasek Ill, Special Agent

 

Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

 

 

telephonic conference (specify reliable electronic means).
Date: 04/06/2022
Judge’s signature
City and state: Concord, New Hampshire Hon. Andrea K. Johnstone, U.S. Magistrate Judge

 

 

Printed name and title
